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              11

              12 UNITED STATES DISTRICT COURT
              13 CENTRAL DISTRICT OF CALIFORNIA - EASTERN DIVISION
              14
                    CARTER BRYANT, an individual,                                                Case No. CV 04-09049 SGL (RNBx)
              15
                                                                                                 (consolidated with CV 04-9059 & 05- .
             16
                                                                        Plaintiff,               2727) _
                                v.                                                               (PUBLIC REDACTED)
             17
                 MA TTEL, INC. a Delaware                                                        BRYANT'S MEMORANDUM OF
             18 Corporation,                                                                     POINTS AND AUTHORITIES IN
                                                                                                 OPPOSITION TO MATTEL 's
             19                                                     Defendant.                   MOTION FOR PARTIAL
             20                                                                                  SUMMARY JUDGMENT
                 CONSOLIDATED WITH MATTEL,
             21 INC., v. BRYANT and MGA                                                          rpublic Redacted Declaration of
                 ENTERTAINMENT, INC. v.                                                          Matthew Werdegar; Statement of
             22 MA TTEL, INC.                                                                    Genuine Issues; and (Proposed) Order
                                                                                                 filed concurrently)
             23
                                                                                                 Date: April               22, 2008
             24                                                                                  Time: 10:00 a.m.
                                                                                                 Dept: Courtroom 1
             25                                                                                  Judge: Hon. Stephen G. Larson

             26                                                                                  Date Compo Filed: April              13, 2005
             27                                                                                  Discovery Cut-Off: Jan. 28,2008
                                                                                                 Pre-Trial Conference: May 5, 2008
             28                                                                                  Trial Date: May 27, 2008

                    (PUBLIC REDACTED) BRYANT'S MEMORAUM OF POINTS AN AUTHORITIES IN OPPOSITION
                                                                                                                                                 TO
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                  1 I. Introduction
                2 Mattel' s motion for summary judgment ("MatteI's Motion") misstates the

                3 law and distorts the facts of this case, and cannot justify summary judgment for
                4 MatteI on any part of
                                                              its claims. As explained below, in MGA's opposition brief,
                5 and in Bryant's own summary judgment motion ("Bryant's Motion"), the only
                6 possible grant of partial summary judgment here must be against MatteI, not for it.
                7 First, Sections I and II of MatteI's Motion ignore critical questions of
                8 contract scope and
                                                                             the inquiry before the
                                                         interpretation and distort the nature of



                9 Court. For all the reasons discussed in Bryant's Motion, a proper analysis in fact
              10 mandates judgment in Bryant's favor, not MatteI's. MatteI's self-serving and
              11 conclusory argument cannot hide the fact that its only contract with Bryant gives it
              12 no rights to his Bratz idea and creative efforts. Moreover, California Labor Code

                                                         MatteI's Employee Agreement, as MatteI
              13 § 2870 does not define the outer limits of



              14 claims (although even then Bryant's work would fall within its protections); rather,
              15 the nature and history of
                                          Section 2870 re-confirm that the Agreement drafted by
              16 Mattel had a narrow, technological and patent-oriented focus that does not
              17 encompass any part of Bratz. All of this analysis (as well as other defects) also
              18 belies MatteI's assertion that its claims to certain Bratz sketches and Bryant's
              19 rough, patchwork "dummy" could be undisputed based merely on their dates of
             20 creation. Finally, the Employee Agreement would be unconscionably draconian if

             21 interpreted as MatteI now claims it should be.
             22 Second, MatteI is not entitled to summary judgment on its copyright claims
             23 (MatteI's Section III) both because (1) Mattel does not own any of the works it
             24 claims have been infringed, based both on a proper analysis of MatteI's Employee
             25 Agreement (regardless of
                                                                     the works' factual history) and, in addition, on the actual
             26 history of                 Bryant's creative process (which he will prove at trial), and (2) MGA's
             27 Bratz dolls are not substantially similar to Bryant's sketches, under principles of
             28
                                                                                                    1
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                   1 copyright law. Bryant
                                                                  joins in and incorporates by reference MGA's arguments on
                 2 these issues as set forth in MGA's Memorandum of
                                                                                                                     Points and Authorities in

                 3 Opposition to MatteI's Motion for Partial Summary Judgment ("MGA
                4 Opposition"), and the relevant portions ofMGA's Opposition to Mattel, Inc.'s
                5 (Corrected) Separate Statement of
                                                                                            Law in
                                                                                     Uncontested Facts and Conclusions of



                6 . Support of MatteI, Inc.' s Motion for Partial Summary Judgment, as though fully
                7 set forth herein.
                8 Third, MatteI is not entitled to summary judgment on any part of its claims

                9 for breach of contract, breach of fiduciary duty or breach of duty of loyalty

              10 (MatteI's Section IV). Bryant did not breach any contractual obligation to Mattel,
              11 because Bryant owned everyhing he conveyed to MGA and honored all
                                                                                                                                         legitimate
              12 requirements of
                                                      MatteI's Employee Agreement. Likewise, Bryant was not a
              13 fiduciary of
                                             MatteI, either based on his position as an ordinary, low-level MatteI
              14 employee or due to being "entrusted by MatteI with confidential, proprietary
              15 information" (MatteI MSJ 34), and thus owed Mattel no fiduciary duty. Moreover,
              16 Bryant did not breach his limited duty of
                                                                                                loyalty as an ordinary employee, and
              17 MatteI cannot prove that his limited involvement with MGA prior to his departure
              18 from MatteI (which he wil prove at trial) was anything more than preparations to
              19 compete with MatteI after leaving the company, which California law permits.
              20 Finally, MatteI is not entitled to summary judgment on any of
                                                                                      Bryant's
              21 affirmative defenses (MatteI's Section VI), which either must be resolved in
              22 Bryant's favor or present issues of material fact for the jury. Bryant joins MGA's
              23 argument supporting his defenses based on the statutes of limitations, laches,
              24 waiver, consent, and estoppel, incorporating all related arguments and facts from
              25 the MGA Opposition as though fully set forth here. Bryant's unclean hands
              26 defense must also survive summary judgment, as set forth below, because it
              27 involves quintessential factual questions of MatteI's motivation and intent, and the
              28
                                                                2
                        (PUBLIC REDACTED) BRYANT'S MEMORADUM OF POINTS AN AUTHORITIES IN OPPOSITION TO
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                   1 equitable significance of MatteI's unfair conduct surrounding this litigation.
                 2 II. Factual Background!
                 3 A.              MatteI's Employee Agreement is far more limited in scope than MatteI
                                   now claims.
                 4
                                   As discussed at length in Bryant's Motion, both the text of MatteI's
                 5
                        Employee Agreement (which MatteI                                    labels an "Inventions Agreement") and the
                 6
                        circumstances surrounding it make clear that the Agreement seizes for MatteI far
                 7
                       less of its employees' creative work than MatteI now claims in this litigation. The
                 8
                       Employee Agreement was an adhesive, one-sided contract
                 9

               10
                                                                SGI l3l? The terms of the Agreement claim for MatteI only
               11
                       "inventions" that are either "conceived or reduced to practice by (an employee)
               12
                       (alone or jointly by others) at anytime during (his) employment by the
               13
                       Company"-terms of                        art invoking patent law. Bryant Motion 21-25; SUF 7 (Ex.
               14
                       8). Although MatteI now claims (in litigation) that the Employee Agreement
               15
                       effected a sweeping assignment of all creative efforts by MatteI employees, except
               16

              17
                       as prohibited under California law, MatteI in fact never had-and thus made
                                                                                                                                           no
                       attempt to enforce-such sweeping rights. Bryant Motion 7-8,25-28; SUF 37-42.
              18
                       Instead,
              19
                                                                                                                                          Id.
              20
                                  As also discussed in Bryant's Motion, no other document Bryant signed at
              21
                      MatteI was a valid, binding contract. Bryant Motion 36-40; SGI 134.
              22

              23

              24

              25 1 To avoid repetition, Bryant refers the Court to his summary judgment papers (including
                   portions ofMGA's motion papers incoryorated therein) for additional facts, incorporating
              26 them here by reference. Bryant also relies on and incorporates here by reference certain
                   facts stated in the MGA Opposition and supporting evidence, as stated herein.
              27 2 "SUF" refers to Bryant's Separate Statement of
                                                                                                        Undisputed Facts in support of   Bryant's
              28 Motion. Similarly, "SGI" refers to Bryant's Statement of Genuine Issues, filed herewith.
                                                                                                    3
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                   1 B.           Bryant honored all of his obligations to MatteI while pitching his Bratz
                                  idea      to MGA and preparing to transition to a new career opportunity.
                   2
                                  Bryant's efforts to seek a more creatively fulfilling career by pitching his
                   3

                  4
                       Bratz idea to MGA were lawful and violated no rights of
                                                                                   MatteI. Instead, as
                       Bryant wil prove at trial, his actions prior to leaving MatteI were nothing more
                  5
                       than preparations to pursue an idea of his own with MGA after leaving MatteI.
                  6
                       Taking the facts in the light most favorable to Bryant, Bryant had an ide~
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                       (PUBLIC REDACTED) BRYANT'S MEMORADUM OF POINTS AN AUTHORITIES IN OPPOSITION TO
                                       MATTEL'S MOTION FOR PARTIAL SUMMARY JUDGMENT
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            24                                       III. Argument
            25 Because MatteI bears the burden of proving its claims against Bryant at trial,
            26 "it must come forward with evidence which would entitle it to a directed verdict if
            27
                 3 Any contrary testimony by MatteI's witnesses can only create a fact issue for triaL.
            28
                                                               5
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              1 the evidence went uncontroverted at trial" to satisfy even its initial burden in
              2 seeking summary judgment. Miller v. Glenn Miller Prods., 454 F.3d 975,987 (9th
              3 Cir. 2006) (emphasis added); C.A.R. Transp. Brokerage Co., Inc. v. Darden

              4 Restaurants, Inc., 213 FJd 474,480 (9th Cir. 2000). In evaluating MatteI's
              5 motion, all of         Bryant's evidence must be believed, and all reasonable inferences
              6 must be drawn in his favor. Miller, 454 F.3d at 988. MatteI falls far short of even
              7 this heavy "initial burden of c:stablishing the absence of a genuine issue of fact on
              8 each issue material to its case." Id. at 987. Moreover, even where facts are
              9 undisputed, summary judgment is not proper "where divergent ultimate inferences
            10 may reasonably be drawn from the undisputed facts." Lahr v. Natl Transp. Safety
            11 Bd., 453 F. Supp. 2d 1153,1169 (C.D. CaI. 2006) (citing Braxton-Secret v. A.H
            12 Robins Co., 769 F.2d 528,531 (9th Cir. 1985)).
            13 Here, as set forth below, in the MGA Opposition, and in Bryant's Motion
            14 (which Bryant wil not repeat here, but incorporates by reference in full), the only
            15 proper grant of partial summary judgment would be against MatteI, not for it. The
            16 undisputed facts require judgment for Bryant on many of MatteI's claims, while all
            17 other claims raised in MatteI's Motion involve fact issues that must go to triaL.
            18 A. MatteI's claims to Bratz fail because the Employee Agreement does not
                    include the sweeping definitions Mattei now seeks to assert against
            19 Bryant, and even if it did Mattei could not enforce such definitions here.
            20 Sections I and II of                MatteI's Motion ignore critical questions of c,ontract
            21 scope and interpretation (on which the undisputed facts, as discussed in Bryant's
            22 own summary judgment motion, mandate judgment in Bryant's favor), and distort
            23 the nature of          the inquiry before the Court. The Court should reject MatteI's glibly
            24 misleading approach to the contractual issues before it. The fundamental flaws in
            25 MatteI's argument discussed here infect-and must defeah-not only MatteI's
            26 breach of contract claim, but also its claims of copyright infringement, breach of
            27

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                     (PUBLIC REDACTED) BRYANT'S MEMORADUM OF POINTS AN AUTHORITIES IN OPPOSITION TO
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             1 fiduciary duty, and breach of
                                                                                                         4
                                                                         the    duty of       loyalty.



             2                 1.         MatteI ignores and misstates controlling principles of California
                                          contract interpretation (as set forth in Bryant's Motion). '
             3
                              Contrary to MatteI's simplistic presentation of                                the law, the Court must
             4
                   consider all available evidence of the parties' intent to determine whether MatteI's
             5
                  Employee Agreement-or any other purported contract with Bryant-is
             6
                  reasonably susceptible to more than one interpretation, even if the language
             7
                  appears to be clear on its face (which is not always the case here). Parsons v.
             8
                  Bristol Dev. Co., 62 CaL. 2d 861,865-66 (1965); Pac. Gas & Elec. Co. v. G. W
             9
                  Thomas Drayage & Rigging Co., 69 CaI. 2d 33,37,39-40 (1968); Wolfv. Superior
            10
                  Court, 114 CaI. App. 4th 1343,1351 & 1356 (2004).
            11
                              Then, all ambiguities must be resolved against MatteI, the drafter of                               the
            12
                  contract. Graham v. Scissor-Tail, 28 CaI. 3d 807,819-20, n. 16 (1981); see also
            13
                  Powerline Oil Co. v. Superior Court, 37 CaI. 4th 377,391 (2005); CaI. Civil Code
            14
                  § 1654. For a contract that is drafted by one party's lawyers or a contract of
            15
                  adhesion (and the Employee Agreement is both), this contra preferentem rule
            16
                  applies with extra force. Badie v. Bank of America, 67 CaI. App. 4th 779 (1998)
            17
                  (adhesion); Neal v. State Farm Ins. Co., 188 CaI. App. 2d 690,694 (1961)
            18
                  (adhesion); Mayhew v. Benninghoff 53 CaL. App. 4th 1365 (1997) (attorneys).
            19
                              In addition, and regardless of whether or not the text is ambiguous, the Court
            20
                  must not give MatteI's adhesive form contract an interpretation that would fall
            21
                  outside the reasonable expectations of a weaker party in Bryant's position.
            22
                  Graham v. Scissor-Tail, Inc., 28 CaL. 3d 807, 820 (1981). Nor can the Court
            23
                  permit an unfairly one-sided interpretation of an adhesive contract. Id.
            24
                              Under these principles, which MatteI entirely fails to address, the only
            25
                  possible grant of summary judgment regarding MatteI's claims to any ownership of
            26

            27
                  4 The particular flaws of each claim are discussed in more detail in the sections below.
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                                                                                             7
                  (PUBLIC REDACTED) BRYANT'S MEMORADUM OF POINS AN AUTHORITIES IN OPPOSITION TO
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               1 Bratz must be for Bryant, not MatteI. See Bryant Motion 17-40.

               2                 2.          Mattei disregards the actual language of the agreement it forced
                                             on Bryant, which ~as explained in Bryant's Motion) does not
               3                             encompass Bryant s Bratz idea and materiaL. '
               4 MatteI's argument disregards not only the applicable legal principles, but the

               5 facts of this case. First, MatteI's argument fails to mention this critical fact:
               6 MatteI's Employee Agreement does not claim for MatteI the rights that MatteI now
               7 asserts against Bryant. For all the reasons set forth in Bryant's Motion, MatteI's

               8 Employee Agreement is not so sweeping as MatteI now claims; nor does MatteI
              9 make any real effort to justify the broad contract reading it seeks. By its plain
             10 terms, the Agreement does not encompass Bryant's Bratz idea, sketches, and other
             11 material, because none of
                                                         Bryant's work was an "invention" under the Agreement,
             12 nor would any hypothetical such "invention" have been "conceived or reduced to
             13 practice by (Bryant) (alone or jointly by others) at any time during (his)
             14 employment by the Company." See Bryant Motion 17-36. Nothing in MatteI's
             15 actual Employee Agreement states or implies that MatteI owns Bryant's creative
             16 work "to the fullest extent of
                                                            the law," as MatteI now contends-without any
             17 detailed analysis. MatteI MSJ 2; SGI 159.
             18 Mattel seeks to sidestep the plain language and scope of its Employee
             19 Agreement by claiming that
             20 . MatteI MSJ 8. He does not, nor would any such agreement help MatteI here.

             21 MatteI relies for this supposed "admission" on a deposition answer, taken out of
             22 context, which had nothing to do with MatteI's Employee Agreement. Also,
             23 MatteI offers no evidence (and there is none) that Bryant's idea for a set of doll
             24 characters, or his related sketches, would constitute "designing toys" even if
             25 designing toys were in fact "inventing." Moreover, MatteI offers no evidence-
             26 again, because it has none-that Bryant had MatteI's claimed understanding of
             27 "inventing"                                                                         or that a
             28
                                                                       8
                     (PUBLIC REDACTED) BRYANT'S MEMORADUM OF POINTS AN AUTHORITIES IN OPPOSITION TO
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             1 reasonable employee in Bryant's position would understand the Agreement in this
             2 way. Where everyhing about the Employee Agreement and the circumstances at
             3 the time of its execution indicates that all reasonable parties would understand it to

             4 have a far narrower meaning, that narrower meaning must prevaiL CaL. Civ. Code

             5 § 1636 (providing contracts "must be                   so interpreted as to give effect to the mutual
             6 intention of the parties as it existed at the time of contracting").
             7 3. California Labor Code Section 2870 does not help MatteI.

             8 MatteI claims that California Labor Code Sections 2870-2872 define the

             9 outer limits of MatteI's Employee Agreement; they do no such thing, as both the
            10 Employee Agreement itself and the nature and history of Section 2870 make clear.
            11 MatteI's Agreement does not claim for MatteI all employee thoughts and creative
            12 ideas, except inventions protected by Section 2870, as MatteI now falsely claims.
            13 MatteI MSJ 6; SGI 159. Rather, the Agreement's scope is far more limited, as
            14 described above and in Bryant's Motion.
            15 In addition, because MatteI now claims that the Employee Agreement

            16 directly tracks Section 2870 and its limits, the Agreement should also share the
            17 limitations of that legislation. And the history of Section 2870 reveals that it was
            18 intended to promote scientific and technological innovation by securing certain
            19 patent rights for engineers and scientists-that concern for patent rights permeates

            20 the entire legislative history.5 SGI 158. Thus, to the extent that Section 2870 is at
            21
                   5 The following are just a few highlights ilustrating this strong patent focus:
            22
                         · Assembly Bil No. 2902, Jan. 29, 1976 (first version of Section 2870, explaining
            23              that bil is needed becàuse "existing law contains no provisions relating to the
                            right to the patent for an invention made by an employee.");
            24           . Bil Digest for May 17, 1976 hearing (explaining that "patents are governed by
                               federallaw" but "state law may affect certain aspects of patents," which bil wil
            25                 do by "provid(ing) that patent rights to an invention" belong to employees under
                               certain conditions");
            26
                         · March 29, 1976                George H. Murphy, Legislative Counsel, to
                                                          letter of


            27                 Assemblyman John J. Miler (analyzing proposed legislation for conflct with
                               federal patent laws, with no mention of copyright) (in legislative history fie of
            28                 A.B. 474, the version of the patent bil that passed in 1979);
                                                                  9
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                1 all relevant to this dispute, it only serves to reaffirm the narrow, technologically-

                2 focused meaning of
                                                            Mat    tel's Employee Agreement, which is already clear from the
                3 Agreement's text and surrounding circumstances (as discussed in Bryant's own
                4 motion for partial summary judgment).6
                5 Moreover, MatteI's Employee Agreement follows Section 2870 in using the

                6 language of
                                             patent law - not of copyright law. In contrast, the California code
                7 contains numerous
                                                          provisions that do address copyright issues, using the distinct
                8 language of copyright law. See, e.g., CaL. Civ. Code §§ 980-989 (protecting

               9 "products of the mind"). Some of these provisions even ilustrate the contrasting
              10 language used for copyrights and patents by addressing both types of protection, in
              11 parallel (but separate) subsections. Compare, e.g., CaL. Civ. Code § 980(a)

              12 (addressing "original work(s) of authorship" by an "author") with CaI. Civ. Code §
              13 980(b) (addressing "invention(s) or design(sJ" by an "inventor or proprietor").
              14 These provisions confirm that the California legislature is fully capable of enacting
              15 copyright-related laws (to the extent not preempted by federal
                                                                                 law), but that
              16 Section 2870 is not such a law: it addresses inventions, and is a patent-oriented
              17 law intended to protect and promote technological innovation. MatteI's Employee
              18

              19            · Memo re A.B. 474 for Labor, Employment & Consumer Affairs Commttee
                                 hearing March 20, 1979 (explaining that "patents are governed by federal
                                                                                                                    law.
              20               The United States Constitution specifically empowers Congress to protect
                               inventions.");
              21            · Assemblyman Terry Goggin, A.B. 474 Statement Assembly Comm. on Labor,
                               Employment & Consumer Affairs, March 20, 1979 (A.B. 474's author explaining
              22               that the bil "guarantees patent rights to employed inventors"; describing need for
                                 bil because lack of employee control over inventions "undermines the patent
              23
                                           by removing any incentive to create," contributing to United States's
                                 system itself

                            "fall(J from 1st to 7th place since World War II" in "patents of origin").
              24
                         See Bryant's Request for Judicial Notice (fied herewith), Exs. A-E.
              25     6 In the event that the Court disagrees with Bryant's interpretation of the term "invention"
                     in the Employee Agreement and Section 2870, Bryant contends and wil argue at trial
              26 that his Bratz idea and creative efforts nonetheless belong solely to him under the
                  protections of Section 2870. However, under the most coherent reading of the
              27 Agreement and Section 2870, the Cour (and the jury) need not reach the question
              28 whether Section 2870 protects Bryant here.
                                                                    10
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              1 Agreement, which tracks and incorporates Section 2870 (according to MatteI, by
             2 using Section 2870 to define the scope of
                                                                the Agreement), is similarly patent-
             3 oriented and cannot encompass Bryant's Bratz idea, sketches, and other materials.7
             4 A review of court decisions applying Section 2870 also confirms that, unlike
             5 some other employers' agreements, MatteI's Employee Agreement simply does not
             6 claim for MatteI "all inventions not excluded by the terms of Section 2870" (as

             7 MatteI now claims, without analysis, MatteI MSJ 6), and that Section 2870 and
             8 agreements referencing it ordinarily apply to technological and scientific
             9 innovations. Where employers' agreements do expressly claim all inventions not
            10 exempted under Section 2870, courts may enforce that agreement; but MatteI's
            11 Employee Agreement contains no such express language. SGI159. Cf Verigy
            12 US, Inc. v. Mayder, No. C-07-04330 RMW, 2008 WL 564634, * 1 (N.D. CaI. Feb.
            13 29,2008) (technical employer's agreement claiming all proprietary developments
            14 not exempted under Section 2870). Also, and tellingly, Mattel has pointed to no
            15 decision applying Section 2870 or an "inventions" assignment agreement to a doll
            16 character idea, sketch, or other artistic effort. ~ather, Section 2870 typically
            17 affects cases and agreements involving patent disputes in a wide range of technical
            18 fields. See, e.g., IPVenture, Inc. v. Prostar Computer, Inc., 503 F.3d 1324 (Fed.

            19 Cir. 2007) (patent for management of computer systems); Applera Corp.-Applied
            20 Biosystems Group v. Illumina, Inc., No. C 07-02845 WHA, 2008 WL 170597, *1-5
            21

            22 7 Bryant's Motion also refutes MatteI's claim that the Employee Agreement's limited
                  reference to copyright in inventions alters the basic technology and patent-oriented nature
            23    of the Agreement. Bryant Motion 22-25 & n.13. To the extent that the Court might find
            24 (or MatteI
                 than     might argue)
                      the Employee     that Section
                                   Agreement        2870
                                               (which     carries
                                                      it does not),a Bryant's
                                                                     narrowerBratz
                                                                              definition of "inventions"
                                                                                   idea and  efforts would
                  stil belong to him under principles of copyright law. Id. 34-36. Section 2870 does not
            25    attempt to displace the federal copyright regime, under which Bryant's work belongs to
                  him unless (1) MatteI owns it as a work for hire, or (2) Bryant knowingly transferred
            26 ownership in a clear, explicit written instrument. As Bryant's Motion explains, MatteI
                admits that Bryant's Bratz work was not a "work for hire" done in the scope of his MatteI
            27 employment, id. 34 n.20; MGA SUF para 80, and the adhesive and unclear Employee

            28 Agreement is not a valid transfer of copyright ownership under 17 U.S.c. s 204(a).
                                                              11
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              1 (N.D. CaL. Jan. 17,2008) (patents related to DNA sequencing); Rita Medical Sys.,

             2 Inc. v. Resect Medical, Inc., No.. C 05-03291 WHA, 2007 WL 161049, *2 (N.D.
             3 CaL. Jan. 17,2007) (patents related to medical devices).
             4 Finally, even if                              MatteI's Employee Agreement did claim all inventions not
             5 protected by Section 2870, and even if that claim could potentially encompass
             6 Bryant's Bratz idea and sketches, material factual disputes would remain as to
             7 whether Section 2870 would protect Bryant's Bratz efforts here. MatteI grossly
             8 oversimplifies this analysis, with a glib and conclusory argument that ignores key

             9 factual disputes and the precise scope of Section 2870. In fact, a reasonable jury

            10 could find that any "invention" involving Bryant's Bratz idea and creative efforts
            11 was developed on his own time, without using MatteI's resources within the
            12 meaning of                   the law, and did not relate to MatteI's actual or anticipated business.
            13 First, Bryant's testimony and other evidence indicate that Bryant had his
            14 Bratz idea and made his early sketches while not working at MatteI, and that any
            15 actual development of the idea during the years he worked at MatteI used only
            16 Bryant's own time and resources. SGI135-l50. Indeed, in the shop rights
            17 context, courts consistently hold that use of a de minimis amount of materials gives
            18 the employer no rights to an employee's invention.8 Also, MatteI's "resources"
            19 cannot include its
            20 Second, a jury could find that any efforts by Bryant related to his Bratz idea
            21

            22 8 See Voith Hydro Inc. v. Hydro West Group, 1997 WL 154400, *6-8 (N.D. CaL. 1997)

            23      (where invention was conceived before employment and reduced to practice afterward,
                    the employee's use of                                                        the
                                                          "some time and resources" to work on one component of


            24 invention was
                 Metals Co. v. insufficient
                                Lockwood, to  give
                                            178    rise
                                                CaL.    to any
                                                      App.     ownership rights
                                                            2d 643,649-50,      in the
                                                                           656-58, 662employer);
                                                                                       (1960) (useBanner
                                                                                                   of some
            25 wire and employer's
                no substantial     welding machine
                               way produced          after hours
                                            or contributed  to thewas "negligible
                                                                  development   ofand  unimportant
                                                                                   a receptacle of a and in
            26 commercially
                 737-39 (1960)acceptable  form"); Aero
                                (use of employer's     Bolt
                                                   paper    & Screw
                                                         pads,        Co.early
                                                               bolts for  v. Iaia, 180 CaL.
                                                                               models        App. 2d 728,
                                                                                       and prototypes,
                 typists and copier in connection with drawings submitted to manufacturers, and
            27 employer's shop on weekends to make samples did not create ownership rights in the
                    employer because employee did not use a "substantial amount" of  its resources).
            28
                                                                  12
                    (PUBLIC REDACTED) BRYANT'S MEMORADUM OF POINTS AND AUTHORITIES IN OPPOSITION TO
                                    MATTEL'S MOTION       FOR  PARTIAL SUMMARY JUGMENT
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             1 during the years he worked at Mattel

             2 did not constitute "development" of the idea, but only
             3 preparations to pitch and pursue it after leaving MatteI. See infra Section C.III.
             4 Finally, a jury could find that (despite MatteI's current self-servingly broad
             5 definitions of its "business") MatteI in fact had more limited business interests and

             6 plans that did not encompass Bratz, based on at least the following facts: _
             7

             8

             9

            10

            11

            12 Courts have.denied summary judgment in similar (though patent-related)
            13 situations, properly recognizing that the jury must be permitted to evaluate the
            14 evidence and determine whether Section 2870 applies. Applera Corp.-Applied

            15 Biosystems Group, 2008 WL 170597 at *4-5 (denying summary judgment in
            16 Section 2870 dispute despite "strong" evidence favoring employer, where
            17   employee testified he thought up and developed his invention on his own time, jury
            18   could find that minimal company resources used were not part of "developing" his
            19 invention, and company knew about the invention but delayed suit).
            20         4. MatteI cannot prevail on sum nt's
                          Bratz sketches-including the it
            21               claims are undisputedly its rroperty-because they are not
                             "inventions" and were not' conceived or reduced to practice. .
            22               during (Bryant's) employment" within the meaning of the
                             Employee Agreemenf.
            23

            24 The analysis above (and in Bryant's Motion) amply demonstrates that MatteI
            25 does not own any of Bryant's Bratz material, regardless of when it was created-
            26 or, at the very least, that the material facts underlying MatteI's claims of ownership
            27 are disputed, precluding any grant of summary judgment to MatteI as to any of
            28
                                                          13
                 (PUBLIC REDACTED) BRYANT'S MEMORADUM OF POINTS AN AUTHORITIES IN OPPOSITION TO
                                 MATTEL'S MOTION FOR PARTIAL SUMMARY JUDGMENT
413922.01                                  CASE NO. CV 04-09049 SGL ,(RNx)
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               1 Bryant's Bratz materials. That analysis applies equally to the
               2 that MatteI claims were undisputedly made within the
               3 time period that Bryant was employed at MatteI; whatever their dates of creation,
              4 they stil do not belong to MatteI. First, they are not MatteI's because (as shown

               5 above) none of Bryant's Bratz idea or creative efforts are inventions conceived or
              6 reduced to practice during his employment, within the meaning of the Employee

              7 Agreement. Second, even if Bryant's overall Bratz idea, or some combination of
              8 sketches and other materials could be an invention satisfying all the terms of the
              9 Agreement (which is not the case), the individual items MatteI claims here stil
             10 would not constitute "inventions" "conceived" or "reduced to practice" "during
             11 (Bryant's) employment." Tracing or coloring a sketch logically cannot constitute
            12 "conceiving" or "reducing to practice" an invention.9 Also, if such a thing is
            13 possible, it makes even less sense to claim that sketches for
            14 are "inventions" than that a complete doll
            15                                                Nor does MatteI                   offer any explanation of          how it claims the
            16                                                 were ever reduced to practice during Bryant's MatteI
            17 employment (especially since
                                                                                                                                                   ),
            18 or how they were "conceived" separately from Bryant's core Bratz idea and earlier
            19 sketches (whose factual history is disputed). Also, MatteI offers (and has) no
            20
                    9 The terms "conceived" and "reduced to practice" are terms of art in patent law that do
            21      not encompass sketching, tracing, or coloring a doll character idea. See Hitzeman v.
            22 Rutter, 243had
                inventor   F.3d
                              an 1345, 1356
                                 idea that was(Fed  Cir. 2001)
                                                definite       ("(T)he test
                                                         and permanent      for conception
                                                                         enough             is whether
                                                                                 that one skilled in thethe
                                                                                                         art
                    could understand the invention. . . An idea is definite and permanent when the inventor
            23 has a specific, settled idea, a particular solution to the problem at hand, not just a general

            24 goal
                F.3dor1223,
                       research
                            1228plan. . .");Wommack
                                 (1994));   (quoting Burroughs
                                                      v. DurhamWellcome Co.
                                                                Pecan Co.,   v. F.2d
                                                                           715  Barr 962,966
                                                                                     Labs., Inc.,
                                                                                              (5th40
                                                                                                   Cir.
            25
                    1983) ("(R)educed to practice (J includes not only the reduction (of  an idea) to reality, but
                    also sufficient testing or experimentation to demonstrate that the device as it exists
            26 possesses  sufficient utilty
                intended purpose.")         to justify
                                     (quotations       a patent,
                                                    omitted);    i.e., thatv.the
                                                              Fitzgerald         invention
                                                                               Arbib,      is suitable
                                                                                      268 F.2d 763, 765for its
            27 (C.C.P.A. 1959) ("(T)his court and its 'predecessors in patent
                                                                                                                           jurisdiction have held that
                    reduction to practice of a thee-dimensional design invention requires the                                          production of
                    an article embodying that design."). See also Bryant Motion 23-24.
            28
                                                            14
                     (PUBLIC REDACTED) BRYANT'S MEMORADUM OF POINTS AN AUTHORITIES IN OPPOSITION TO
                                     MATTEL'S MOTION FOR PARTIAL SUMMARY JUGMENT
413922.01                                      CASE NO. CV 04-09049 SGL (RNx)
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             1 evidence that any of the sketches were created during Bryant's working hours at
             2 MatteI. SGI 164. The same problems defeat MatteI's claims to the
             3

             4

             5

             6 MGA SGI 21.
             7               5. If the Employee Agreement means what Mattei claims (which it
                                         does not), it cannot be enforced against Bryant.
             8
                             It does not matter whether the Employee Agreement is enforceable or not,
             9
                 because as a matter of common sense and ordinary contract interpretation it does
            10
                 not give MatteI the rights the company now claims. However, MatteI also
            11
                 mistakes Bryant's argument against enforcing the agreement with the meaning
            12
                 MatteI now claims for it: Bryant does not contend that the Employee Agreement
            13
                 in itself is unenforceable, but only that it is unconscionably draconian if interpreted
            14
                 as MatteI now claims it should be, and thus cannot be interpreted or enforced in
            15
                 that manner. Under the proper interpretations set forth in Bryant's Motion and
            16
                 above, the Employee Agreement is enforceable-but it gives MatteI no rights to
            17
                 Bryant's Bratz idea, sketches, and                              other materiaL.
            18
                             Bryant recognizes that the Court has already considered the terms of the
            19
                 Employee Agreement on motions to dismiss and concluded, looking only within
            20
                 the four corners of the document, that it is not unconscionable for MatteI to expect
            21
                 "that the works of                   its design staff-created by MatteI's employees, using MatteI's
            22
                 resources, during time for which MatteI paid the employee-be considered its
            23
                 property." July 18,2006 Order at 14.10 However, the Court has not considered
            24
                 whether the Employee Agreement is enforceable if it is given the meaning MatteI
            25

            26
                 10 Bryant preserves all of
                                                             his rights with respect to the Court's July 18,2006 Order
            27   dismissing Bryant's counterclaims pertaining to the validity and enforceabilty of                   the
                 Employee Agreement, including any and all rights on appeaL.
            28
                                                          15
                  (PUBLIC REDACTED) BRYANT'S MEMORADUM OF POINTS AN AUTHORITIES IN OPPOSITION TO
                                  MATTEL'S MOTION FOR PARTIAL SUMMARY JUDGMENT
413922.01                                   CASE NO. CV 04-09049 SGL (RNx)
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              1 now claims for it, on the facts of this particular case. Based on its past conduct and
             2 the circumstances surround the Employee Agreement, as well as California public
              3 policy, MatteI simply cannot enforce any improper interpretation of
                                                                                                                                the Employee
             4 Agreement-such as one purporting to prohibit Bryant from engaging in good faith
              5 and reasonable efforts to seek employment or professional opportunities with other
              6 companies, including MatteI competitors, while stil employed by MatteL.1 i
              7 In sum, the Employee Agreement gives MatteI no rights to any part of

              8 Bryant's Bratz idea or sketches. Thus, all of                                        MatteI's claims based on its supposed
              9 ownership ofBryants idea and sketches faiL As discussed below, this
            10 fundamental defect-as well as other flaws-must defeat MatteI's motion for
            11 summary judgment on its claims for copyright infringement, breach of contract,
            12 breach of                 fiduciary duty, and breach of                         loyalty.
            13 B.               MatteI's copyright infringement claims lack merit, as set forth in the
            14
                                MGA parties' opposition Drief. '
                                Bryant         joins in MGA's arguments that MatteI's copyright infringement
            15
                    claims fail because MatteI does not own the works it claims MGA and Bryant have
            16
                    infringed, and because MGA's Bratz dolls are not substantially similar to Bryant's
            17
                    original sketches. To the extent summary judgment is possible on any copyright
            18
                    issues, that judgment must be in Bryant's favor - not MatteI's - so MatteI's
            19
                    summary judgment motion must be denied. Bryant incorporates the arguments and
            20
                    facts set forth in MGA's Opposition Brief                                     and factual submissions on this subject,
            21
                    as though fully set forth herein.
            22
                    c.          MatteI's claims for breach of contract, breach of fiduciary duty, and
            23                  breach of loyalty all fail.
            24                  1.            Bryant breached no contractual obligation to MatteI.
            25 MatteI's adhesive Employee Agreement is the only contract between MatteI

            26
                    11 MatteI is also precluded from enforcing the Employee Agreement against Bryant in
            27 this litigation on the bases of
                                                                         various statutes of        limitations, and MatteI's   unclean hands,

            28 waiver, estoppel, laches, and consent. See infra Section D.
                                                             16
                     (PUBLIC REDACTED) BRYANT'S MEMORADUM OF POINTS AND AUTHORITIES IN OPPOSITION TO
                                     MATTEL'S MOTION FOR PARTIAL SUMMARY JUDGMENT
413922,01                                       CASE NO. CV 04-09049 SGL (RNx)
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              1 and Bryant, and Bryant did not breach any of that agreement's requirements. First,
              2 as explained above, Bryant did not breach the Employee Agreement by failing to

              3 turn his Bratz idea, sketches and other material over to MatteI, because the

              4 Agreement gave MatteI no rights to any of Bryant's Bratz material, even setting
              5 aside the clear factual disputes over the history of
                                                                                                        Bryant's idea and creative efforts
              6 surrounding Bratz.!2

              7 Bryant also did not breach any contractual obligation to
                                                                                                                     Mattel by pitching

              8 his Bratz idea and pursuing the opportunity todeveIop it with MGA. The
              9 Employee Agreement does contain a clause barrng Bryant from engaging in
            10 employment or business other than for the company, or investing in or assisting (in
            11 any manner) any business
                                                                         competitive with the business or future business plans of
            12 the Company, without MatteI's consent. SUF 7 (Ex. 8 i13(a)). However, this
            1 3 language on its face does not prohibit a MatteI employee from pursuing new
            14 employment opportnities or preparing to leave the company. As discussed below,
            1 5 that is all Bryant did before he left his Mattel employment. The language of the
            16 Employee Agreement and MatteI's related conduct
            17 do not logically support a broader interpretation. Moreover, (1) the
            18 Employee Agreement must be read narrowly against MatteI, its drafter, (2) a
            19 broader interpretation would impermissibly violate the reasonable expectations of
            20 MatteI employees, the weaker parties to an adhesive
                                                                                                           contract, and (3) a broader
            21 interpretation would violate California's strong public policy in favor of employee
            22 mobility, as demonstrated by California's law that preparations to compete with an
            23 employer to not violate an employee's duty of
                                                                                                     loyalty (discussed below).!3

            24
                    !2 Even MatteI acknowledges that the parties dispute the history of
                                                                                     Bryant's Bratz idea
            25      and        of                                                      Bryant's tangible
                                    "some items" related to it-a rather coy description for all of

                 Bratz work (including his original Bratz sketches) except for the six allegedly undisputed
            26 items identified in Mattel's motion. SGI 165; MatteI MSJ 1,9.
                    13 The principles of

            27                                  a contract law discussed in Bryant's Motion and above
                                                          Cali   fomi

                    apply equally here, and Mattel's course of conduct (including imposing an adhesive
            28      contract and tolerating moonlighting) is equally significant. Bryant Motion 17-34.
                                                                      17
                     (PUBLIC          REDACTED) BRYANT'S MEMORANDUM OF POINTS AN AUTHORITIES IN OPPOSITION TO
                                               MATTEL'S MOTION FOR PARTIAL SUMMARY JUDGMENT
413922.01                                                CASE NO. CV 04-09049 SGL (RNx)
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              1 MatteI's claims also fail to the extent they are based on any other purported

              2 contract. As discussed in Bryant's Motion, MatteI's Conflict of Interest
              3 Questionnaire is not a contract (nor did MatteI intend it to be), and does not bind
              4 Bryant. Bryant Motion 36-38. Thus, even if
                                                                                                  MatteI's claims that Bryant failed to
              5 comply with the supposed terms of
                                                                                         the Questionnaire were accurate (which they
              6 are not), that failure would not breach any contractual obligation to MatteI. And in

              7 fact, as the facts set forth above demonstrate,

              8

              9

            10                                               Bryant cannot be blamed for MatteI's failure to seek more
            11      information about that opportunity once informed of it.
            12                  2. Bryant did not owe MatteI any fiduciary duty as a result of his
                                      position at MatteI or due to any alleged sharing of confidential
            13                        information, and breached no duty to MatteI.
            14                  The Court also should reject MatteI's attempt to sidestep established
            15      California law in order to create a fiduciary relationship where the undisputed facts
            16 (much less disputed facts) show a straightforward employment relationship giving
            17 rise to a modest duty of loyalty, but not a more onerous fiduciary duty.
            18                              a.          In California, an employee must be an officer, ~artici:pate in
                                                        the management of the company, and exercise ilscretionary
            19                                          authority for a fiduciary relationship to be imposed by law.
            20 First, MatteI tacitly concedes that Bryant does not owe MatteI any fiduciary
            21 duty imposed by law as a result of
                                                                                    his position as a MatteI employee. MatteI fails
            22 to even mention that under California law employees ordinarily do not owe
            23 employers fiduciary duties. In addition, MatteI omits any discussion of
                                                                                                                             the limited
            24 circumstances under which an employee of a corporation wil owe his employer a
            25 fiduciary duty-the employee must be an officer of the company, must participate
            26 in management of the company, and must have discretionary authority in his
            27 managerial capacity. GAB Bus. Servs., Inc. v. Lindsey & Newsom Claim Servs.,
            28
                                                              18
                     (PUBLIC REDACTED) BRYANT'S MEMORANDUM OF POINTS AN AUTHORITIES IN OPPOSITION TO
                                     MATTEL'S MOTION FOR PARTIAL SUMMARY JUDGMENT
413922.01                                       CASE NO. CV 04-09049 SGL (RNx)
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               1 Inc., 83 CaI.App. 4th 409,420-21 (2000) ("GAB Business"), overruled on other

               2 grounds by Reeves v. Hanlon, 33 CaL. 4th 1140 (2004); Enreach Tech., Inc. v.
               3 Embedded Internet Solutions, Inc., 403 F. Supp. 2d 968 (N.D. CaI. 2005). MatteI
               4 has provided no evidence
                                            (much less undisputed facts) to satisfy the criteria set
               5 forth in GAB Business or in Enreach Technology.14 MatteI's complete failure to '
               6 address the criteria set forth in GAB Business alone requires the denial of summary
               7 judgment on MatteI's claim for breach of fiduciary duty. Enreach Tech., 403 F.


               9 b.
               8 Supp. 2d at 976.



              10
                                                     Nevertheless, we address MatteI's additional arguments below.
                                                         Bryant's Employee Agreement and his alleged access to
                                                         highly confid-ential information did not transform his
                                                         orilinary employee relationship into a fiduciary
                                                         relationship.
              11
                                 Omitting any reference to the established principles set forth in GAB
              12
                     Business and discussed in Bryant's Motion, MatteI instead asserts that Bryant held
              13
                     a "position of            trust" and was "entrusted. . . with highly confidential information"
              14
                     and thus owed MatteI fiduciary duties as a matter of               law. MattelMSJ 34-35.
              15
                     Given that MatteI cannot satisfy the standard set forth in GAB Business to
              16
                     demonstrate a fiduciary relationship imposed by law, Mattel presumably claims
              17
                     that Bryant entered into the second type of fiduciary relationship, a "confidential
              18
                     relationship" undertaken by agreement. However, the two alleged "facts" relied
              19
                     upon by Mattel-that Bryant held a "position of                  trust" and had access to "highly
              20
                     confidential information"-do not even come close to demonstrating as a matter of
              21
                     law that Bryant was in a "confidential relationship" with MatteI such that he owed
              22

              23



              25

              26
                                                                                                : SUF i-i- 28-33. Indeed,
              27 the provisions of the Employee Agreement relied upon by MatteI are not even relevant to
                   the analysis under GAB Business.
              28
                                                                     19
                      (PUBLIC REDACTED) BRYANT'S MEMORADUM OF POINTS AN AUTHORITIES IN OPPOSITION TO
                                      MATTEL'S MOTION       FOR  PARTIAL  SUMMARY JUDGMENT
413922,01                                             CASE NO. CV 04-09049 SGL (RNx)
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                                                                15
              1 MatteI fiduciary duties.



              2                                         (i)          The Employee Agreement's provisions do not create a
                                                                     confidential relationship as a matter of law.
              3

              4 As discussed at length in Bryant's Motion, California law requires more than
              5 the mere assertion of the placement of trust in another or the sharing of
              6 confidential information to establish a fiduciary relationship. Indeed, California
              7 courts consistently grant summary judgment on this issue in favor of defendants
              8 where a party does not set forth facts establishing the hallmarks of an agreed upon
              9 confidential relationship: the voluntary and knowing acceptance of                                 trust that
            10 creates a legally recognized fiduciary relationship, placing the fiduciary in a
            11 superior position of control over the dependent party. City Solutions, Inc. v. Clear
            12 Channel Communications, Inc., 201 F. Supp. 2d 1048, 1050-51 (N.D. CaI. 2002).
            13 MatteI simply has not met its burden of setting forth undisputed facts which
            14 establish the hallmarks of such a "confidential relationship."
            15 MatteI fails to mention these established requirements for creating a
            16 confidential relationship. Instead, it summarily asserts that the provisions of the
            17 Employee Agreement stating that MatteI "depends upon (the employee) to
            18 maintain (the confidentiality of                                Proprietary Information) and (the employee)
            19 accept(s) that position oftrust..create a fiduciary duty under California law."
            20 MatteI MSJ 34. Remarkably, the only case MatteI cites to support its flatly
            21 incorrect assertion is GAB Business. Id. In fact, GAB Business specifically notes
            22 that even when an employee is an offcer, something more than mere title is needed
            23
                    15 Indeed, as argued in Bryant's Motion, no triable issue of
                                                                                                       fact precludes summary
            24 judgment against MatteI on MatteI's claim for breach of
                                                                              fiduciary duty. Although the
                    question of whether a confidential relationship exists involves evaluation of facts, City
            25      Solutions, 201 F.Supp. 2d at 1051, courts may grant summary judgment on a breach of
                    fiduciary duty claim when, as here, "the facts, taken in the light most favorable to
            26 plaintiff, make it pèrfectly clear the parties' dealings fall into a category of
                                                                                                 relationships
            27 not  susceptible to fiduciaryitsobligations
                taken themselves out of         ambit." Id.;and
                                                             seethat the
                                                                 also,   parties have
                                                                       Worldvision    not, byInc.
                                                                                   Enters.,    their actions,
                                                                                                  v. Am.  Broad.
                 Cos., 142 CaL. App. 3d 589, 595 (1983).
            28
                                                                                                  20
                     (PUBLIC REDACTED) BRYANT'S MEMORANDUM OF POINTS AN AUTHORITIES IN OPPOSITION TO
                                     MATTEL'S MOTION       FOR  PARTIAL SUMMARY JUDGMENT
413922.01                                            CASE NO. CV 04-09049 SGL (RNx)
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             1 to create a fiduciary relationship. GAB Business, 83 CaI. App. 4th at 420. "After

             2 all, a corporation cannot make a mail clerk its fiduciary by simply bestowing upon
             3 the clerk the title of officer." Id.
             4 Thus, GAB Business rejected the very proposition upon which MatteI now

             5 appears to rely-that a party can claim a fiduciary relationship is created merely by

             6 stating that an employee has a particular title or, as here, is designated as holding a
             7 "position of              trust." As discussed above, the Employee Agreement was an adhesive
             8 form agreement,

             9

            1 0 SUF iTiT 11- 1 3, 17-18. MatteI asserts that this fact alone-the
            11 inclusion of a Proprietary Information provision in an adhesive contract-creates a
            12 confidential relationship giving rise to a fiduciary relationship with every
            13     employee it hires, including Bryant. MatteI's failure to cite any additional case for
            14 this position underscores its absurdity.16
            15                                        (ii) Bryant's alleged access to confidential information is
                                                                  insufficient to create a fiduciary relationship.
            16
                              Mattel then argues that even if the provisions of the Employee Agreement
            17
                   do not create a "confidential relationship," Bryant became a fiduciary because
            18
                   MatteI entrusted him with highly confidential information, relying on Stevens v.
            19
                   Marco, 147 CaI. App. 2d 357 (1956). Mattel MSJ 34-35. Again, MatteI fails to
            20
                   satisfy the standards set forth in the cases it relies upon. In Stevens v. Marco,
            21
                   Stevens, an inventor, disclosed a secret invention to Marco, the officer of a
            22
                   company capable of manufacturing the invention. Stevens then entered into a
            23
                   16 MatteI perhaps relies upon GAB Business only for its recitation of
            24                                                                            the general
                 requirements of a confidential relationship that gives rise to a fiduciary relationship. If
            25 so, GAB Business is equally unhelpful to MatteI. In reaching its holding, GAB Business
                 acknowledged the line of authority discussing the "other kind of fiduciary duty-one
            26 'undertaken by agreement' rather than 'imposed by law.'" Id. at 417. The court then
                 explained that this line of authority was not germane to the issue before it-when to
            27 . impose a fiduciary duty on an officer of a corporation. Id. at 417- 1 9. GAB Business
                 offers no support for MatteI's claim that the insertion of a confidentiality provision in
            28
                                                                 21
                    (PUBLIC REDACTED) BRYANT'S MEMORANDUM OF POINS AN AUTHORITIES IN OPPOSITION TO
                                    MATTEL'S MOTION       FOR  PARTIAL SUMMARY JUDGMENT
413922.01                                           CASE NO. CV 04-09049 SGL (RNx)
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             1 series of agreements with Marco in which Marco promised that, in                            exchange for
             2 transferring Steven's interest in the invention, Marco would prosecute an
             3 application for a patent, manufacture and sell the device, and pay plaintiff a royalty
             4 on gross sales. Stevens v. Marco, 147 CaI. App. 2d at 373. The court specifically

             5 noted that "all the classic elements of a confidential relation" were present: (1)
             6 entrusting of a secret invention to a person with the ability to develop, patent and

             7 exploit it; (2) Marco's superior position, since he was in charge of                        marketing,
             8 production and bookkeeping; and (3) a relationship akin to that of a trustee or joint
             9 venturer. Id. at 373-74.17

            10 Here, even Bryant's supposed admissions (which MatteI overstates) do not
            11 even approach the factual situation in Stevens v. Marco. According to MatteI,
            12

            13

            14

            15

            16 MatteI MSJ 35. Thus, the information
            17 "entrusted" to Bryant is nothing more than the information he needed to do his
            18 job-it is not analogous to the entrusting of a secret invention to the business

            19 person who wil take sole charge of exploiting it.
            20 More importantly, courts, including the court in Stevens v. Marco, have
            21 repeatedly held that the entrusting of confidential information is not sufficient to
            22
                   Bryant's Employee Agreement creates a fiduciary relationship.
            23     17 MatteI also relies upon
                                                               Michelson v. Hamada, 29 CaL. Al?p. 4th 1566, 1581 (1994) for
                   the general proposition that confidential and fiduciary relationships arise whenever trust
            24     and confidence is reposed by one person in the integrity of another. However, Michelson
                   goes on to note that courts have not found confidential relationships in certain
            25     relationships such as employer-employee, landlord-tenant, insurer-insured, and other
                   contractual relationships. Id. Moreover, in Michelson, the alleged fiduciary relationship
            26     arose out of the li1aintifts agreement with the defendant that the defendant would perform
            27 bookkeeping,
                exchange for 50% of
                                    bi ling and
                                             thecollection services
                                                 first $120,000     for plaintiff
                                                                collected.        s professional
                                                                           Defendant             corporation
                                                                                        was not an           in
                                                                                                   employee of
                   plaintiff, nor did the case turn on access to confidential information. Id. at 1576-77.
            28
                                                                                      22
                    (PUBLIC REDACTED) BRYANT'S MEMORADUM OF POINTS AN AUTHORITIES IN OPPOSITION TO
                                    MATTEL'SMOTION FOR PARTIAL SUMMARY JUDGMENT
413922.01                                     CASE NO. CV 04-09049 SGL (RNx)
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              1 create a "confidential relationship" that gives rise to fiduciary duties. Stevens, 147

              2 CaI. App. 2d at 373-74; see also City Solutions, 201 F. Supp. 2d at 1050
              3 (confidentiality agreement between two parties considering bidding on a public

             4 contract and sharing of confidential information did not create a confidential
              5 relationship where the contract did not); Rita Medical Systems, Inc. v. Resect
              6 Medical, Inc., 2007 WL 161049 (N.D.CaI.) *6 (employee had no fiduciary duty as
              7 a matter of law where the employment contract required employee to keep trade
              8 secrets confidential but did not clearly indicate he had a fiduciary duty). If an
              9 employee's access to confidential information needed to do his job were sufficient
            10 to create a fiduciary relationship, then nearly every employee in California would
            11 be a fiduciary-a result GAB Business and other courts have already rejected.

            12 In short, MatteI has not even attempted to show that the additional
                                                                                                                               "c1assic
            13 elements of a confidential relations" are present Nor can it. MatteI points to no
            14 facts that show that Bryant knowingly or voluntarily agreed to enter into a
            15 "confidential relationship" with MatteI.
                                                                                             18 Nor does MatteI point to any act creating
                                                                                                                                      19
            16 a legally recognized fiduciary relationship-such as a trustee or joint venturer.



            17 MatteI also fails to set forth evidence that Bryant was placed in a position of
            18 control over MatteI's property or affairs.2o Indeed, the existence of                                     the contracts'
            19 governing the relationship between Bryant and MatteI precludes a finding that the
            20 parties entered into a separate "confidential relationship.,,21 Thus, because the
            21
                    18 To the contrary, as set forth in Bryant's Motion and incorporated herein, the undisputed
            22      facts show that Bryant did not voluntarily assume any fiduciary duty to MatteI.
                    19 See Bryant's Motion at 15-16 (discussing Maglica v. Maglica, 66 CaI. App. 4th 442
            23

            24 20 T . h m r 1
                    (1998) and Wolfv. Superior Court, 107 CaI. App. 4th 25 (2003)).

                                                                                                           See Bryant's Motion 6-7.
            25      21 As a general rule, courts have found that no fiduciary duty exists "where other legal

            26 relationships clearly existed between parties which covered the transaction in suit and
                                                              fiduciary duty." Oakland Raiders v. Natl
                    which were inconsistent with the existence of

            27 Football League, 131 CaL. App. 4th 621, 634 (2005) (internal quotation marks omitted);
                    see also City Solutions, 201 F. Supp. 2d at 1049 (existence of confidentiality agreement
            28 precludes finding of                          duty not explicitly required by the agreement);
                                                          breach of      fiduciary

                                                                  23
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                 1 Employee Agreement specifically covers the relationship between MatteI and
                 2 Bryant and does not impose a fiduciary duty, SUF i-i- 14, the court should reject
                 3 MatteI's attempt to convert its breach of contract claim into a tort claim, merely in
                 4 order to obtain additional damages. 22

                 5                 3.          Bryant did not breach his limited duty of loyalty (or any alleged
                                               fiduciary duty) by preparing to compete with MatteI alter leaving
                 6                             his employment.
                 7 MatteI also moves for summary judgment on the issue of
                                                                                                        breach-claiming
                 8 that the undisputed facts show a "pattern of conduct (that) is a classic breach of
                                                                                                                     the
                9 duty of             loyalty and fiduciary duty." MatteI MSJ 36. MatteI's motion must be
               10 denied because MatteI again misstates the legal standard and relies on highly
               11 disputed facts.
               12 As set forth below and as Bryant will prove at trial, Bryant's actions before
               13 leaving MatteI were nothing more than preparations to compete, privileged under
               14 California law. In particular, (1) Bryant was not required to disclose his efforts to
              15 obtain another job; (2) Bryant owned the Bratz idea and sketches he pitched to '
              16 MGA; (3) Bryant undertook no acts of direct competition with MatteI while
              17 employed at Mattel; (4) Bryant's use of any MatteI resources (including his own
              18 time) was de minimis and thus does not establish a breach of any duty; and (5)
              19 Bryant fully fulfilled his job responsibilities at MatteI.
              20 As a preliminary matter, whether an employee has breached his duty of
              21 loyalty (or his alleged fiduciary duty) is a question for the trier of fact. See Sequoia
              22 Vacuum Sys. v. Stransky, 229 CaI. App. 2d 281,288 (1964) ("For that reason, the
              23 determination of the particular factual circumstances and the application of the
              24 ethical standards of fairness and good faith required of a fiduciary in a given
              25
                       Wolf 107 CaL. App. 4th at 25 (reposing trust and confidence in the party to a contract
              26 does not create a fiduciary relationship but rather affords redress for breach of contract).

              27 22Mattel cannot raise a triable issue of
                                                            fact defeating Bryant's Motion as to its claim for
                      breach of fiduciary duty. However, in the event the Court disagrees, certainly Bryant has
              28 raised a triable issue of fact to defeat MatteI's Motion on this issue.
                                                                                                 24
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                   1 situation are for the trier of facts."); Science Accessories Corp. v. Summagraphics
                 2 Corp., 425 A. 2d 957, 962 (1980). This question of
                                                                                                               breach is highly dependent of
                 3 the facts of each case, in part because "( n)o ironclad rules as to the type of conduct

                 4 which is permissible can be stated. . ." Bancroft Whitney Co. v. Glen, 64 CaI. 2d
                 5 327, 346 (1966). Moreover, it is "difficult to draw a clean distinction between acts
                 6 prior to termination. . . that constitute mere preparation for competition. . . and

                 7 actions that constitute competition." Restatement (Third) of Agency § 804 cmt c;

                 8 see also Auxton Computer Enters., Inc. v. Parker, 174 N.J. Super. 418, 424 (1980)
                 9 ("Obviously, each case must be decided upon its own facts; because of the
               10 competing interests the actionable wrong is a matter of degree."). Further, this
               11 distinction between "mere preparation to compete" and "actions that constitute
               12 competition" is difficult to assess because the propriety of certain actions may
               13 "depend on the intention with which the (employee) acted and the surrounding
               14 circumstances." Restatement (Third) of Agency § 804 cmt C.23 This is precisely
               15 the type of factual issue il-suited to summary adjudication - especially on a
               16 motion brought by MatteI, which bears the burden of proof at trial and cannot
              17 prevail unless its evidence would justify a directed verdict in its favor. See Miller,
              18 454F.3d at975.

              19

              20

              21
                      23 Indeed, although the duty öf loyalty is one that every employee in California owes his
              22 employer, the scope of
                                                              that duty is determined by the level and                    job responsibilities of     the
                  employee. 19 Wiliston on Contracts § 54:26 (4th ed.) ("the scope ofthe duty ofloyalty
              23 that an employee owes to his or her employer may vary with the nature of their
                                                                           loyalty exists for employees who
                                                                                  that a higher duty of

                                      trust and confidence than for those who occupy low-level positions."
              24 relationship; ,it is generally agreed
                       occupy positions of


              25 Bryant has presented
                  no managerial       undisputedorevidence
                                 responsibilities           that he was
                                                   decision-making       an ordinary
                                                                      authority. Thus,MatteI  employee,
                                                                                       any reliance by with
              26 MatteI     on cases such as Sequoia Vacuum, 229CaL. App. 2d 281 (1964), Daniel Orifce
                  Fitting Co. v. Whalen, 198 CaL. App. 2d 791 (1962), and                                      Bancroft        Whitney, 64 CaL. 2d
              27
                      327 (1966) to define the scope of   Bryants duties to Mattel is misplaced. These cases all
                      base their analysis on the fact that the employees at issue were officers, with managerial
                                                                             fiduciary duties as a result of              their status as officers.
              28 responsibilties, and with unique

                                                                                                25
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              1                             a.          Bryant did not directly compete with MatteI while a MatteI
                                                        emploiee-and thus he did not breach his duty of loyalty to
              2                                         Matte .
              3 Despite the intensely factual nature of the inquiry, courts have consistently

              4 distinguished between permissible preparations to compete with one's employer

              5 after leaving employment, on the one hand, and impermissible direct competition

              6 with one's employer while still employed, on the other hand. Therefore, "(t)he
              7 mere fact that (an employee) makes preparations to compete before he resigns his
              8 office is not sufficient to constitute a breach of duty." Bancroft Whitney, 64 CaI.
              9 2d at 346; accord Eckard Brandes, Inc., v. Riley, 338 F. 3d 1082, 1086 (9th Cir.
            10 2003). An employee does, however, breach the duty of                            loyalty (or a fiduciary
            11 duty) ifhe engages in direct competition with his employer, such that the employer

            12 is harmed during the term of employment. Auxton Computer Enters., Inc., 174
            13 N.J. Super. at 424 ("It is something more than preparation which is so harmful as
            14 to substantially hinder the employer in the continuation of                       his business);
            15 Restatement 2d Agency § 393 cmt e (employee may not do "similar acts in direct
            16 competition with the employer's business"). Moreover, "(p)roof of serious
            17 employee misconduct causing injury to the employer must also be shown before
            18 reliefwil generally be granted." Science Accessories, 425 A. 2d at 965; see also

            19 Auxton Computer Enters., 174 N.J. Super. at 424.24
            20 Following these                                 guiding principles, courts have held that employees may,
            21 during the term of their employment, undertake extensive efforts to establish a
            22 competing business and immediately compete upon termination of employment.
            23 Bancroft Whitney, 64 CaI. 2d at n. 10 (quoting Restatement 2d Agency § 393 cmt

            24

            25      24 Even an officer (which Bryant indisputably was not), who has a far greater duty to a
                    company, may engage in a competing business while he remains an officer provided that
            26 he does not cripple or injure the business. See Sequoia Vacuum Sys., 229 CaL. App. 2d at
                    286 (citing Daniel Orifce, 198 CaL. APl? 2d at 800 ("(A J party may not enter into a
            27      competing enterprise which cripples or injures a business or corporation of which he
                    remains an offcer or director.") (emphasis added).
            28
                                                                                26
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             1 e); Maryland Metals, Inc. v. Metzner, 282 Md. 31 (1978). Employees may use de

             2 minimis amounts of their employer's resources, such as phones, faxes, computers,
             3 and employee time. Science Accessories Corp., 425 A. 2d at 962 (use of                   telephone
             4 and small amount of                        wire worth $30); Edenbaum v. Dalton, 2002 WL 31474450
             5 (CaI. Ct. App. Nov. 6, 2002) (use of office resources during working hours);

             6 Abraham Zion Corp. v. Lebow, 593 F. Supp. 551, 570-71 affd, 761 F. 2d 93 (2d
             7 Cir. 1985) (use of employer's clothing pattern where such use caused no economic

             8 harm); Merger Mgmt. Consulting, Inc. v. Wilde, 920 F. Supp. 219 (D. D.C. 1996)
             9 (use oflaptop).25

            10 Employees also may discuss their competing venture with other employees
            11 and ask customers whether work might be available. Abraham Zion Corp., 593 F.

            12 Supp. at 570-71 (discussion with retailers regarding potential collaboration);
            13 Computer Sciences Corp. v. Ferguson, 74 CaI. Rptr. 86, 92-93 (1968)
            14 (unpublished) (discussion with fellow employees and customers); Merger Mgmt.

            15 Consulting, 920 F. Supp. 219 (executives identified clients and sent them discs of
            16 all work). Employees may use some time during work hours to prepare to
            17 compete, and be paid their salary while they do so, provided they continue to
            18 perform their job responsibilities. Edenbaum, 2002 WL 31474450 *8 (payment of
            19 salary while employee performed outside work); Computer Sciences Corp., 74

            20 CaL. Rptr. at 93 (no evidence defendant failed to perform work competently);
            21 Auxton Computer Enters., Inc., 174 N.J. Super at 424-25 (employee said he was il
            22 in order to attend meeting on behalf of competitor with whom employee sought a
            23
                   25 See also Rapistan Corp. v. Michaels, 511 N. W. 2d 918 (Mich. Ct. App. 1994)
            24 (employees use of "funds, facilities, personnel, and compensated time, II minimal
                   amounts" to assist in the acquisition of $29 millon company was insufficient to show a
            25     "substantial nexus or causal connection" between the assets used and the business
                 opportnity and therefore employees were not estopped to deny acquisition was a
            26 corporate opportnity); Seward v. Union Pump Co., 428 F. Supp. 161 (S.D. Texas 1977)

                (no breach
            27 business    of fiduciary
                        where           duty where
                                performance        officer used
                                             of ministerial taskssecretary for matters
                                                                  did not work  to "the associated
                                                                                        detriment with  side
                                                                                                   of Union
                   Pump" because secretary performed all his duties to the fullest extent).
            28
                                                                                        27
                    (PUBLIC REDACTED) BRYANT'S MEMORADUM OF POINTS AND AUTHORITIES IN OPPOSITION TO
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              1 job); Science Accessories Corp., 425 A. 2d at 962 (use of off-hours time to work

             2 on invention). Employees may even use marketing plans, customer lists or other
             3 information learned during their employment provided it is not a trade secret or
             4 confidential information. Western Medical Consultants Inc. v. Johnson, 80 F. 3d

             5 1331, 1336-38 (1996) (use of                                 marketing plans and customer lists obtainable from
             6 public sources); Abraham Zion, 593 F. Supp. at 570 (use of                               pattern for clothing
             7 was not prohibited where the information obtained was generally available from
             8 public sources to members of                                 the trade).
             9 In contrast, courts have found a breach of the duty of loyalty where an

            10 employee, while stil employed by the former employer, engaged in direct
            11 competition with his employer, such that an employer .was harmed while the
            12 employee remained in its employ. For example, employees breached their duty of
            13 loyalty (or fiduciary duty) where they formed a competing company and bid
            14 against their employers while stil employed or sold competing products or
            15 diverted sales away                       from their employer. Eckard Brandes, 338 F. 3d at 1086 (bid
            16 against employer); T.A. Pelsue Co. v. Grand Enters., Inc., 782 F. Supp. 1476, 1486
            17 (D. Colo. 1991) (sold competing products while stil employed); Material Supply
            18 Int'l, Inc. v. Sunmatch Indus. Co., 146 F. 3d 983, 993 (D.C. Cir. 1998) (use of
            19 employer's trademark to solicit sales for its own private labei),z6
            20 b. Bryant was not required to disclose his efforts to pursue the
                                                       Bratz idea.
            21
                                Thus, in order to establish that Bryant breached his duty of loyalty to MatteI
            22
                    as a matter of law, MatteI must set forth undisputed facts showing that Bryant
            23

            24
                    26 Courts have attempted to summarize the preparation to compete doctrine by stating
            25 that employees have a privilege to prepare to compete while still employed, but

            26 misconduct
                solicitationsuch
                             of anasemployer's
                                     misappropriation of trade
                                               customers beforesecrets, misuse
                                                                terminating    of confidential
                                                                            employment,        information,
                                                                                         conspiracy  to
                    cause 'mass resignation' of                    key employees, and usuration of a corporate opportunity
            27 wil defeat the privilege. Science Accessories Corp., 425 A. 2d at 962 (citing Maryland

            28 Metals, Inc., 382 A. 2d at 569-70.
                                                                                          28
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               1 engaged in direct competition with MatteI while employed at MatteI. Mattel does
              2 not even
                                      attempt to make any such showing. Instead it acknowledges in a cursory
              3 sentence that preparations to compete do not constitute breach of any duty, and

              4 then erroneously states that "for any such preparation to compete defense to apply~
              5 Bryant had to disclose his plans to MatteI," relying on Daniel Orifce Fitting Co.,
              6 198 CaI. App. 2d at 800-01 and Sequoia Vacuum Sys., 229 CaI. App. 2d 281,287

              7 (1964). MatteI MSJ 37-38,z7

              8 MatteI is simply wrong. In Bancroft Whitney Co. v. Glen, 64 CaI. 2d 327

              9 (1966), the California Supreme Court specifically rejected MatteI's interpretation
            10 of Daniel Orifce and Sequoia Vacuum. The Court held that, even for an officer
            11 (which Bryant was not) with fiduciary duties (which Bryant lacked), "(t)here is no
            12 requirement that an offcer disclose his preparations to compete with the
            13 corporation in every case, and failure to disclose such acts wil render the officer
            14 liable for breach of                     his fiduciary duties only where particular circumstances render
            15 nondisclosure harmful to the corporation." Id. at 347 (emphasis added). Indeed, as
            16 numerous courts have held, to require an at-wil employee, such as Bryant, to
            17 disclose preparations to compete would render the employee's right to prepare to
            18 compete meaningless.28

            19
                    27 MatteI's characterization of
                                               "preparations to compete" as a "defense" is also incorrect.
            20 MatteI bears the burden on the issue of Bryant's alleged breach. As the above cases
                establish, MatteI must show Bryant engaged in acts of direct competition-which it has
            21  not done simply by pointing to acts constituting preparations to compete.
            22 28 Rest. 3d Agency § 8.04 cmt. c. ("An employee or other agent who plans to compete
                 with the principal does not have a duty to disclose this fact to the principaL. To be sure,
            23      the fact that an agent has such a plan is information that a principal would finduseful, but
                                       duty to the principal does not oblige the agent to make such
                    the agent's fiduciary

            24 disclosure. Nor does an agent's duty to provide facts to the principal. . . require
                 disclosure to the principal of an agent's competitive plans. In this respect, the social
            25 benefits of   furthering competition outweigh the principal's interest in full disclosure by
                    its agents."); Auxton Computer Enters, 174 N.J. Super at 324 ("If  the right to changes
            26 jobs is to be in any way meaningful for an employee not under contract for a definite
                    term, it must be exercisable without the necessity of revealing the plans to the
            27      employer."); Abraham Zion Corp. v. Lebow, 593 F. Supp. 551, 571, aff'd, 761 F. 2d 93
                    (2d Cir. 1985) (no duty to notify employer of preparations to compete, since doing so
            28      would render the right to engage in such conduct meaningless); Maryland Metals, 382
                                                                                               29
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             1 MatteI not only misleads the Court by asserting disclosure is required, but it

             2 also fails to point to any particular circumstances that rendered Bryant's failure to

             3 disclose his plans harmfuL Cf id. at 347-48 (president misled employer into
             4 thinking competitor would not raid employees, suggested a two-step salary

             5 increase that made employees more vulnerable to raid, and disclosed confidential
             6 salary information to competitor). To the contrary, as described above,

             7

             8

             9

            10

            11

            12

            13                                         SGI 154-156. Thus, Bryant simply exercised
            14 his right under California law to pursue a new job without disclosing every step of
            15 that process to his current employer. See Am. Home Shield ofCal., Inc. v.Fidelity
            16 Natl Home Warranty Co., 2003 WL 21085278, *12 (CaI. App. 4 Dist. 2003)
            17 (sustaining demurrer without leave to amend and noting that plaintiff failed to "cite
            18 any authority for the proposition that an at-wil employee violates any duty of
            19 loyalty by negotiating an agreement with a prospective employer and not divulging
            20 plans to change employment until she has made a final decision.").
            21 c. Bryant owned the Bratz idea and, thus, his assignment of
                                      the idea to MGA cannot be the basis for a claim of breach.
            22
                        Setting aside lack of disclosure as a basis for establishing a breach of an
            23
                 employee's duty ofloyalty (or fiduciary duty), MatteI complains that Bryant
            24
                 breached his duty of loyalty because he "conveyed to MGA drawings and models
            25

            26

            27 A.2d at 573 ("an
                the employ  of a employee's
                                 prospectiveprivilege
                                            competitorto would
                                                         plan and
                                                               be prepare
                                                                  renderedfor future competition
                                                                           practically           while
                                                                                       meaningless if thein
                employee were required by law to reveal the details of such arrangements").
            28
                                                             30
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             1 he created while employed by Mattei''' MatteI MSJ 36. However, taking the facts
             2 in the light most favorable to Bryant, as the Court must,

             3

             4

             5

             6

             7 Thus, MatteI cannot rely on its disputed claim of ownership of the

             8 Bratz idea and sketches as a basis for claiming that Bryant breached his duty of

             9 loyalty to MatteI as a matter of law. 29

            10                           d.         Bryant und~rtook no acts of direct competition with MatteI
                                                    while still an employee.
            11
                             The remaining facts MatteI complains of also fail to establish any breach of
            12
                 a duty of loyalty to MatteI, and certainly show no direct acts of competition by
            13
                 Bryant while stil employed at MatteI. Bryant's use of
            14
                                                                                                        is insufficient
            15
                 to establish a breach. E.g, Auxton Computer Enters, 174 N.J. Super at 424-25
            16

            17
                 29 For this reason, MatteI's reliance on Daniel Orifce Fitting Co. v. Whalen, 198 CaL.
            18   App. 2d 791 (1962), is misplaced. In Daniel Orifce, the vice president and chief
                                                              breached his fiduciary duty to the
                 engineer was found by the trier of fact to have
            19 company by secretly using the confidential information he obtained as a result of his
                position as chief engineer to design improvements and modifications to the company's
            20 valves while stil employed at the company. ld. at 796. Rather than turning over the
                improvements to the company (as he had done for years), he retained them for his own
            21 use, and immediately upon resigning started a directly competing business. ld. Daniel
                Orifce relies upon a holding that Whalen's inventions created while employed as chief
            22 engineer were owned by his employer under his employment contract, in part because
                 Whalen had turned over previous inventions to his employer. ld. at 798. Again, here, the
            23   facts taken in the most favorable light to Bryant, shows that Bryant owned his Bratz              idea
                 and sketches; this alone i i i h h h 1 in f Da iel ri M r r h r
            24        . in D ie ri
            25

            26
                                        See also Science Accessories, 425 A. 2d at 962 (invention was not a
            27   corporate opportnity where evidence showed corporation would not have been
                 interested in developing it).
            28
                                                         31
                 (PUBLIC REDACTED) BRYANT'S MEMORANDUM OF POINTS AN AUTHORITIES IN OPPOSITION TO
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              1 (employee's excuse of illness on day he attended interview on behalf of competitor
             2 was insufficient to establish breach). Bryant's use of a de minimis amount of
             3 MatteI's resources

             4 is also insufficient to establish a breach.
             5 E.g. Science Accessories, 425 A. 2d at 962 (use of                                     telephone and wire were not a
             6 breach); Abraham Zion, 593 F. Supp. at 570-71 (use of employer's clothing
             7 pattern).
                                                                                                                             30 A
             8                                                                                                                      uxton
            .9 Computer Enters, 174 N.J. Super at 424-25 (attending meeting on behalf of
            10 competitor was nothing more than part of employee's effort to obtain a new job ).31


            12 is also
            11 Further, Bryant's

            13 insufficient to establish a breach. Computer Sciences Corp., 74 CaI. Rptr. At 92-

            14 93 (asking customer whether work might be available not a breach); Abraham Zion
            15 Corp., 593 F. Supp. at 570-71 (asking retailers about potential collaboration and
            16 using information generally available to the trade not a breach).32 Lastly, the trier
            17

            18

            19
                                                                                        as discussed above. See Restatement. (Third)
            20 Agency Sect. 8.04, cmt. (even if    an employer's consent is necessary for an employee to
                                                      his employment, such consent need not be explicit,
                    be free to compete during the term of

            21   but can be shown  by "implied understandings and known customs."); Warrantech Corp.
                 v. Computer Adapters Servs., Inc., 134 S.W.3d 516,531 (Tex. App. 2004) (employer
            22 implicitly sanctioned moonlighting by its employees because supervisors made efforts to
                                                                                           jobs).
                    ~!ructure employee work schedules so as not to interfere with their second
            23         MatteI's reliance on Stokes v. Dole Nut Co., 41 CaL. App. 4th 285, (1995) and Fowler
                    v. Varian Associates, Inc., 196 CaL. App. 3d 34,37 (1987), is misplaced. Both cases held
            24 that an employee's claim of     wrongful discharge failed because the employee at issue had
                 become sufficiently involved with a potential competitor to justify the employer's
            25 termination of the employee. Thus, Stokes held that Dole Nut had cause to terminate two
                 long term employees (the night shift manager and production supervisor) who had taken
            26 several steps toward starting their own almond processing plant-including buying land,
                 speaking with bank representatives about getting a loan, discussing the project with other
            27 employees, producing financial projectìons, producing several proposals, and
                    approaching governental and financing agencies. However, the      court in Stokes
            28   specifically noted that the standard for termination with cause is not identical to the
                                                                                                 32
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              1 of       fact is entitled to consider and (for the purposes of                        this motion) believe that
              2 Bryant's intentions prior to leaving were simply to pursue a new career

              3 opportnity. Auxton Computer
                                                                                 Enters., 174 N.J. Super. at 425 (defendant was
              4 "simply trying to get a
                                                              job"); cf Franklin Music Co., 616 F. 2d at 532-33 (trier of
              5 fact could believe that president wanted to harm majority owner of company).

              6 All the circumstances MatteI complains of do not amount to any actual

             7 injury to MatteI while Bryant was stil employed at MatteI, and thus do not even

             8 approach the conduct in the remaining cases relied upon by MatteI. Bryant's
             9 efforts to seek a new career opportnity are in no way similar to forming a

            10 fraudulent subcontracting business with the specific purpose of defrauding one's
            11 employer. J.c. Peacock, Inc. v. Hasko, 196 CaI. App. 2d 353,358-59 (1961).33

            12 Nor do these facts show any direct competition with MatteI similar to the
            13 engineering of an en masse resignation of employees (Bancroft Whitney), or the
            14 direct bidding for contracts against an employer while stil employed (Eckard
            15 Brandes). Thus, MatteI has failed to meet its burden of establishing a breach of
                                                                                                                                  the
            16 duty of loyalty (or any alleged fiduciary duty) as a matter of law. Of course,
            17 MatteI's true complaint is that months after Bryant left MatteI, MGA launched a
            18 doll that beat Mattel in the market place. And, that, as Bryant and MGA wil prove
            19
                     standard for tortious behavior of an employee, noting that "an employer is not required to
            20 retain an employee while awaiting the commission ofa tort." 41 CaL. App. 4th at 295.
                     Similarly, in Fowler, the court held that the employer, Varian, had good cause to
            21       discharge its marketing manager, who had met with those formng a competing venture,
                     had Qrovided ideas, had assisted in efforts to obtain financing, and had examined a
            22 possible building site. The employee's refusal to provide Varian with any information
                     regarding the competing venture was held to be good cause for his discharge. 196 CaL.
            23       App. 3d at 41-42. Thus, although MatteI could perhaps rely on Stokes or Fowler to
                 justify terminating Bryant for his contacts with a competitor, neither case offers support
            24 for the MatteI's claim that Bryant's actions establish an actionable breach of Bryant's
                     duty of loyalty.
            25       33 MatteI misleadingly claims the facts in this case are more "egregious" than those in
            26 J.c. Peacock, Inc. v. Hasko, 196 CaL. App. 2d 353,358-59 (1961). MatteI MSJ 39. Not
                     so. In Hasko, the general manager for ie. Peacock formed a partnership "for the
            27 purpose of cheating and defrauding (IC. Peacock) in the subcontracting work of
                                                                                                    the
                     partnership." Id. Moreover, he and another defendant falsely represented IC. Peacock's
            28 profits to the owner in order to obtain bonuses based on the false profits. Id.
                                                             33
                     (PUBLIC REDACTED) BRYANT'S MEMORADUM OF POINTS AN AUTHORITIES IN OPPOSITION TO
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             1 at trial, is not an actionable wrong of any kind.

             2 D. MatteI is not entitled to summary judgment on Bryant and MGA's
                             affirmative defenses.
             3
                             1.         Bryant's affirmative defenses based on applicable statutes of
             4                          limitations, laches, waiver, consent, and estoppel must go to the
                                        jury, as set forth in the MGA parties' opposition brief.
             5
                            Bryant        joins in MGA's arguments opposing MatteI's motion for summary
             6
                 judgment on MGA and Bryant's affirmative defenses based on the statute of
             7
                 limitations, laches, waiver, consent, and estoppeL Bryant incorporates the related
             8
                 arguments and facts in the MGA Opposition, as though fully set forth here.
             9
                            2.          Bryant's Phase I unclean hands defense must go to the jury.
            10
                            Bryant's unclean hands defense must also go to the jury, because it presents
            11
                 genuine issues of fact (including intent and motive) not amenable to decision on
            12
                 summary judgment. "Whether the doctrine of unclean hands applies is a question
            13
                 of fact." Kendall-Jackson Winery, Ltd. v. Superior Court, 76 CaI. App. 4th 970,
            14
                 978 (1999). Summary adjudication of             the unclean hands defense is particularly
            15
                 difficult because the defense is intimately related to the facts of the specific case,
            16
                 and requires broad consideration of MatteI's entire course of conduct. Courts have
            17
                 consistently held that, even if a party's conduct is not outright illegal, the equitable
            18
                 principles underlying the unclean hands doctrine dictate that "(a)ny
            19
                 unconscientious conduct upon his part which is connected to the controversy wil
            20
                 repel him from the forum whose very foundation is good conscience." Pond v.
            21
                 Insurance Co. ofN Am., 151 CaI. App. 3d 280,291 (1989); Kendall-Jackson, 76
            22
                 CaL. App. 4th at 979 ("(T)he misconduct need not be a crime or an actionable tort.
            23
                 Any      conduct that violates conscience, good faith, or other equitable standards of
            24
                 conduct is sufficient cause to invoke the doctrine."); Fibreboard Paper Prods.
            25
                 Corp. v. East Bay Union of            Machinists, 227 CaI. App. 2d 675,727(1964).
            26
                 Although unclean hands does not warrant a wholesale trial of a party's morals, the
            27
                 fact- finder can consider any inequitable conduct connected to the controversy or
            28
                                                                  , 34
                  (PUBLIC REDACTED) BRYANT'S MEMORANDUM OF POINS AN AUTHORITIES IN OPPOSITION TO
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              1 transactions at issue: unclean hands is not a technical defense tied to any particular
             2 element of a specific cause of action, but an equitable rationale based on principles
             3 of        fairness. Kendall-Jackson, 75 CaI. App. 4th at 986. To avoid an unclean hands
             4 defense, a party must "act fairly in the matter for which he seeks a remedy," and

             5 must keep clean hands both before and after coming into court. fd. at 978.
             6 Mattel' s hands in this litigation are far from clean, and only the jury can
             7 decide whether MatteI's conduct should bar its claims against Bryant. Bryant's
             8 unclean hands defense here does not depend on overt, easily-documented crimes or

             9 illegality (for which, after all, the law provides other remedies), but on a more
            10 subtle balance of equities and intent that the unclean hands defense exists to
            11 evaluate: given its acts in this matter, is MatteI a worthy claimant in a court of
            12 equitable justice? Bryant has raised numerous issues for trial as to MatteI's subtle
            13 and secretive misbehavior (just as inequitable and damning to MatteI's claims as
            14 any crime); the jury must weigh these issues through the mechanism of       unclean
            15 hands precisely because they involve questions of motive, credibility, and intent
            16 that are not clear-cut and susceptible of proof on a cold record, but depend on
            17 inferences to be made with a holistic understanding of a case at triaL Whether
            18 those acts bear a close enough connection to MatteI's claims to support the defense
            19 is also a question for the jury. See Kendall-Jackson, 75 CaL. App. 4th at 988.

            20 MatteI's wrongs in this matter are many. First, MatteI continues to assert
            21 rights. to Bryant's Bratz idea and sketches based on
            22

            23

            24 Bryant Motion 38-39. The jury must determine whether MatteI did so in bad faith,
            25 in an attempt to intimidate and coerce its employees into ceding to MatteI rights it
            26 could not legitimately claim. Also, MatteI now claims that its Employee
            27 Agreement documents a draconian seizure of its employees' entire creative lives,
            28
                                                             35
                     (PUBLIC REDACTED) BRYANT'S MEMORANUM OF POINTS AND AUTHORITIES IN OPPOSITION TO
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              1 but

              2 See id. 25-28. If (as MatteI now
              3 claims) it always understood the Employee Agreement to have such a drastic effect
              4 on its employees' rights, a jury could reasonably find that MatteI acted unfairly and
              5 deceptively by asking its employees, including Bryant,

              6

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            11

            12 SUF 37-41. By doing so, Mattel deliberately (a
                                                                                         jury could find) induced in Bryant
            13 a false sense of independence and privacy, which MatteI intended to destroy only
            14 when it served the company's purposes. The jury could infer that MatteI
            15 deliberately declined to enforce
            16

            17 _ thus preserving its market dominance through deliberate deceit and

            18 manipulation. Further evidence confirms that this was MatteI's settled practice:
            19 even after Bryant left MatteI, the
                                                                         company continued to ignore widespread
            20

            21

            22

            23

            24 See Declaration of                      Marcus R. Mumford In Support ofMGA's and Carter Bryant's
            25 Motion For An Evidentiary Hearing Re: Witness Tampering (Docket No. 2651),
            26
                    34 Bryant contends that MatteI had no such belief, as the document does not mean what
            27 MatteI claims; however, if
                                                                MatteI's post hoc interpretation prevails, then its conduct in
                    forcing employees like Bryant to sign it was plainly inequitable.
            28
                                                                                 36
                     (PUBLIC REDACTED) BRYANT'S MEMORADUM OF POINTS AN AUTHORITIES IN OPPOSITION TO
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             1 Exs. 3_6.35

             2 In addition,
             3 _ (which the jury can find was intended to gain an improper advantage in

             4 tryng Mattel's Phase I claims against Bryant), MatteI has dirtied its hands during
             S the course of this litigation, which necessarily relates to the matters being litigated.
             6 Because a claimant "must come into court with clean hands, and keep them clean"
             7 to escape an unclean hands defense, MatteI's recent acts sullying its hands also
             8 independently defeat its claims against Bryant. Kendall-Jackson, 76 CaI. App. 4th
             9 at 978 (emphasis added). MatteI also acted inequitably by delaying this suit for
            10 several years after it knew about Bryant's involvement in Bratz, in order to
            11 maximize its damages and use Bryant to its advantage in another litigation. See
            12 SGI 167; MGA Motion 15-29.
            13 Anyone of these unjust acts by MatteI would permit the jury to find that
            14 MatteI's hands are unclean and deny MatteI any relief against Bryant. Only the
            15 jury, and not the Court, may make the inferences and evaluations of character and
            16 credibility at the heart of Bryant's unclean hands defense. The jury must weigh the
            17 evidence above, and all the other evidence to be presented at trial, to determine
            18 whether-considering MatteI's entire course of conduct towards Bryant-MatteI' s
            19 conduct "violates conscience, or good faith, or other equitable standards of
            20 conduct." Fibreboard Paper Products, 227 CaL. App. 2d at 727.

            21                                     iV. Conclusion
            22 For all the foregoing reasons, Bryant respectfully requests.that the Court
            23 deny MatteI's motion for summary judgment in its entirety.
            24 Respectfully submitted,
            25
                 35 Bryant wil not burden the Court byre-submitting these materials, which (along with
            26 remaining exhibits to this Mumford Declaration, on which Bryant also relies) total nearly
                 500 pages. Bryant also incorporates by reference here the discussion and analysis of
            27   these materials contained in MGA and Carter Bryant's Motion For An Evidentiary
                 Hearing Regarding Witness Tampering (Docket No. 2650).
            28
                                                            37
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             1   Dated: March 24, 2008                     KEKER & V AN NEST, LLP
             2

             3
                                                       By: Isl Christa M. Anderson
             4                                             CHRISTA M. ANDERSON
                                                           Attorn~s for Plaintiff
             5                                             CARTER BRYANT
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                 (PUBLIC REDACTED) BRYANT'S MEMORAUM OF POINTS AN AUTHORITIES IN OPPOSITION TO
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